           Case 2:14-cr-00209-MAK Document 418 Filed 09/30/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA                     : CRIMINAL ACTION
                                                 :
                        v.                       : NO. 14-209-2
                                                 :
    MALCOLM MOORE                                :

                                              ORDER
         AND NOW, this 30th day of September 2021, upon considering the pro se Petition (ECF

Doc. No. 397) and amended Petition (ECF Doc. No. 413), the United States’ Response (ECF Doc.

Nos. 407, 414), Petitioner’s Reply (ECF Doc. No. 415), and for reasons in the accompanying

Memorandum, it is ORDERED:

         1.      We DENY the Petitions for habeas relief (ECF Doc. Nos. 397, 413);

         2.      We DENY a certificate of appealability; 1 and,

         3.      The Clerk of Court shall close this case.



                                                       _______________________
                                                       KEARNEY, J.




1
    See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 484 (2000).
